                             UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

Texas League of United Latin American             §
Citizens, National League of United Latin         §
American Citizens, League of Women Voters of      §      NO: AU:20-CV-01006-RP
Texas, Ralph Edelbach, Barbara Mason,             §
Mexican American Legislative Caucus, Texas        §
House of Represe, Texas Legislative Black
Caucus

vs.

Greg Abbott, Ruth Hughs, Dana DeBeauvoir,
Chris Hollins, John Oldham, Lisa Renee Wise

                                              ORDER


        The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear by
phone for a PRELIMINARY INJUNCTION HEARING BY VIDEO CONFERENCE on
October 08, 2020 at 01:00 PM . The courtroom deputy will send out connection information prior
to the hearing.



                  SIGNED on 5th day of October, 2020.



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                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
